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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 06-6213 MMM(JCx)                                           Date    June 29, 2010
 Title             In Re Northrop Grumman Corporation ERISA Litigation




 Present: The Honorable          Jacqueline Chooljian, United States Magistrate Judge
           Kimberly I. Carter                                 None                              None
             Deputy Clerk                            Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                 None

 Proceedings:                 ORDER GRANTING IN PART AND DENYING IN PART
                              PLAINTIFFS’ MOTIONS (DOCKET NOS. 194, 218)

       Pending before this Court is Plaintiffs’ Motion to Compel Production of Documents (“Plaintiffs’
First Motion”) (Docket No. 194). In conjunction with Plaintiffs’ First Motion, the parties have
submitted and the Court has considered a Joint Stipulation (“JS I”), Declaration of Nelson G. Wolff
(“Wolff I Decl.”) with exhibits (Wolff I Ex.”) (Docket No. 196), a Declaration of Chris C. Scheithauer
(“Scheithauer I. Decl.”) with exhibits (“Scheithauer I Ex.”) (Docket No. 197), Plaintiffs’ Supplemental
Memorandum (“Plaintiffs’ Supp. I Memo”) (Docket No. 214), and Defendants’ Supplemental
Memorandum (“Defendants’ Supp. I Memo”) (Docket No. 213).

        Also pending before this Court is Plaintiffs’ Motion to Compel Production of Improperly
Withheld Documents (“Plaintiffs’ Second Motion”) (Docket No. 218). In conjunction with Plaintiffs’
Second Motion, the parties have submitted and the Court has considered a Joint Stipulation (“JS II”)
(Docket No. 219), a Declaration of Nelson G. Wolff (“Wolff II Decl.”) with exhibits (“Wolff II Ex.”)
(Docket No. 220), a Declaration of Chris C. Scheithauer (“Scheithauer II Decl.”) with exhibits and an
under seal exhibit (“Scheithauer II Ex.”) (Docket No. 221, 239), Plaintiffs’ Supplemental Memorandum
(“Plaintiffs’ Supp. II Memo”) (Docket No. 247), and Defendants’ Supplemental Memorandum
(“Defendants’ Supp. II Memo”) (Docket No. 244).

        The Court collectively refers to Plaintiffs’ First Motion and Plaintiffs’ Second Motion as
“Plaintiffs’ Motions.”

        The parties have further submitted at the Court’s direction, and the Court has considered in
connection with Plaintiffs’ Motions: a Supplemental Declaration of Nelson G. Wolff (“Wolff Supp.
Decl.”) with exhibits (Docket No. 246), Plaintiffs’ Notice of Errata Re Exhibits 1-5 to Wolff Supp. Decl.
with exhibits (“Wolff Errata Ex.”) (Docket No. 252), a Supplemental Declaration of Chris C.
Scheithauer (“Scheithauer Supp. Decl.”) with exhibits (“Scheithauser Supp. Ex.”) (Docket No. 245), an
Errata to Scheithauser Supp. Ex. E (“Scheithauser Errata Ex.”) and a Joint Status Report (Docket No.
253). The foregoing supplemental submissions significantly narrow, but do not eliminate the disputes
that are the subject of Plaintiffs’ Motions.

         The Court held a hearing on Plaintiffs’ Motions on June 29, 2010 at 9:30 a.m.

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       Based on the Court’s consideration of the parties’ submissions in connection with Plaintiffs’
Motions, the parties’ arguments at the hearing on this matter, and for the reasons discussed below, the
Court rules as set forth below.

I.       Pertinent Facts

        On September 28, 2006, plaintiffs filed the Complaint in this action. On March 14, 2007,
plaintiffs filed the currently operative First Amended Complaint.1 Plaintiffs allege that defendants
breached their fiduciary duty to plaintiffs in connection with the administration of two ERISA plans:
the Northrop Grumman Savings Plan, Plan 011 (the “NGS Plan”) and the Northrop Grumman Financial
Security and Savings Program, Plan 010 (the “FSS Plan”) (collectively the “ERISA Plans in Issue”).
More specifically, plaintiffs allege that defendants breached their fiduciary duty to plaintiffs by, among
other things: (1) causing the ERISA Plans in Issue to enter into agreements with service providers under
which the plans paid fees and expenses that were unreasonable and/or not incurred solely for the benefit
of the plans’ participants; (2) allowing and causing the plans to pay fees and expenses that were
unreasonable and/or not incurred solely for the benefit of the plans’ participants; and (3) failing to
appoint fiduciaries (e.g., investment managers) who lived up to their fiduciary duties, to monitor/oversee
those appointed, and to remove those who breached their fiduciary duties.

       On February 7, 2007, plaintiffs served defendants with Plaintiffs’ First Set of Requests for
Production (“Document Request(s)”). (Wolff I Decl. ¶ 9; Scheithauer I. Decl. ¶ 9; Scheithauer I. Ex. A).
On March 12, 2007, defendants served plaintiffs with defendants’ Responses and Objections to [the
Document Requests] (“Defendants’ Response(s)”). (Wolff I Decl. ¶ 10; Scheithauer I. Decl. ¶ 3).

        On July 2, 2007, a stipulated Protective Order was filed in this action. (Docket No. 77; Wolff I
Ex. A; Scheithauer I. Ex. G). The Protective Order, among other things, sets forth procedures which
apply in the event material alleged to be protected by the attorney-client privilege or work product
doctrine is inadvertently produced and the effect of such production. (Wolff I Ex. A at ¶ 12). Among
other things, paragraph 12 of the Protective Order: (1) calls for the producing person, within ten days of
learning of the inadvertent or unintentional disclosure, to provide written notice identifying the material;
(2) indicates that such inadvertent or unintentional production, shall not constitute a waiver of the
attorney-client privilege or work product immunity absent a further court order; (3) calls for a receiving
party who disagrees with the assertion of privilege/work product immunity or contends that there has
been an intentional waiver of privilege to make an appropriate motion to the court; and (4) states that the
party claiming the privilege/immunity has the burden of proving that the privilege/immunity exists.
(Wolff I Ex. A at ¶ 12).




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        A motion for leave to file a Second Amended Complaint is currently pending before the
assigned District Judge.
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        Defendants represent that due to the volume of documents needed to be reviewed (including over
one million e-mail files) and attendant practical considerations, defendants utilized an advanced
document imaging database (Concordance database combined with IPro) to electronically manage
documents, including running word and phrase searches of all documents in the database (which
includes all documents currently in issue), reviewing the documents electronically, and placing
electronic tags (such as “responsive” and “privileged”) on the documents. (Scheithauer I. Decl. ¶¶ 15,
16). A list of attorneys and law firms, including those currently at issue, was developed and used as part
of the electronic screening process. (Scheithauer I. Decl. ¶ 17). The foregoing approach was
supplemented with an individual review by an attorney of many of the documents in the database for
quality control. (Scheithauer I. Decl. ¶ 17).

       On July 6, 2007, defendants began their rolling production of documents in response to the
Document Requests. (Wolff I Decl. ¶ 11; Scheithauer I. Decl. ¶ 13; Scheithauer Ex. H). On August 24,
2007, defendants produced their First Privilege Log as to 22 documents. (Wolff II Decl. ¶ 2; Wolff II
Ex. A). On September 14, 2007, defendants produced their Second Privilege Log containing 12 entries.
(Wolff II Decl. ¶ 3; Wolff II Ex. B). On at least September 25, 2007 and September 27, 2007,
defendants produced multiple documents in response to the Document Requests. (Wolff I Decl. ¶ 6;
Wolff I Exs. E-1, E-2).

        On September 28, 2007, the case was stayed pending an interlocutory appeal of an order denying
class certification. On September 30, 2009, the matter was remanded.

      On February 8, 2010, defendants made available to plaintiffs for inspection additional
documents, copies of which were produced on March 22, 2010. (Wolff I Decl. ¶¶ 4-7; Wolff I Ex. F-1).
On March 8, 2010, defendants produced their Third and Fourth Privilege Logs as to over 600 additional
documents. (Wolff II Decl. ¶ 14; Wolff II Exs. C, D).

        Defendants represent that to date, defendants have produced close to a million pages of
discovery. (Scheithauer I. Decl. ¶ 17). Defendants further represent that all of the inside counsel
identified in defendants’ first four privilege logs were involved in the communications recorded in the
privilege logs in their legal capacity. (Scheithauer Decl. ¶ 12).

         On March 19, 2010, plaintiffs’ counsel voluntarily returned to defendants an apparently
inadvertently produced self-evaluation of an attorney at defendants’ law firm who was not working on
the instant case. (Scheithauer I. Decl. ¶ 22; Scheithauer I. Ex. K). Defendants represent that this was the
first indication of any problem with the production, and that it prompted defendants to conduct a
systematic electronic review of all of defendants’ previous productions to attempt to assess whether
other documents had been inadvertently produced. (Scheithauer I. Decl. ¶¶ 22-23).

        On April 1, 2010, defendants invoked paragraph 12 of the Protective Order, notifying plaintiffs
in writing that on the previous day (March 31, 2010), it had come to their attention that defendants had
inadvertently and unintentionally produced numerous documents protected by the attorney-client
privilege and work product doctrine and identifying such documents by bates numbers. (Wolff I Ex. C;
Scheithauer I. Decl. ¶ 24; Scheithauer I. Ex. L).


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        On April 7, 2010, defendants again invoked paragraph 12 of the Protective Order, notifying
plaintiffs in writing that it had recently come to their attention that defendants had inadvertently and
unintentionally produced additional documents protected by the attorney-client privilege and work
product doctrine and identifying such documents by bates numbers. (Wolff I Ex. D; Scheithauer I. Decl.
¶ 25; Scheithauer I. Ex. M).

        On April 14, 2010, defendants provided plaintiffs with a Fifth Privilege Log which contained
entries for clawed back documents. (Wolff I Decl. ¶ 8; Wolff I Ex. G; Scheithauer I. Decl. ¶ 27;
Scheithauer I. Ex. N).

         In total, defendants have assertedly clawed back almost 300 documents totaling over 1200 pages.
(Wolff I. Decl. ¶¶ 4, 5; Wolff I Exs. B, C, D; Scheithauer I. Decl. ¶ 28; Scheithauer I. Ex. O). Plaintiffs
represent that the clawed back documents span the years 2000 to 2006 and that Department of Labor
filings reflect that during such time period, the ERISA Plans In Issue have paid three specified law firms
a total of over $3 million. (Wolff I Decl. ¶ 19; Wolff I Ex. L).

        Defendants represent that all of the clawed back documents “involve communications involving
an attorney legal review or advice concerning (a) legal advice of outside or inside counsel regarding
designing or amending the ERISA plan; (b) legal advice concerning describing or communicating
completed plan changes to participants; (c) documents concerning counsel’s review and comment on
responses to individual plan participants’ inquiries, complaints and claims; (d) comments on plan
compliance with statutory obligations; or (e) communications involving counsel concerning plan
sponsors, fiduciaries, and trustees seeking legal advice concerning the performance of their duties to
avoid personal liability and for their own protection or advice concerning fiduciary exposure. Each of
the persons involved in the communications were attorneys, employees and agents of defendants and
Northrop who were necessarily involved in the communication as recipients and facilitators of legal
advice or work product.” (Scheithauer I. Decl. ¶ 28).

        The current fact discovery cut-off in this action is August 27, 2010. The current expert discovery
cut-off is October 18, 2010.

II.      Pertinent Law

         A.      Attorney-Client Privilege

       The purpose of the attorney-client privilege is to encourage “full and frank communication
between attorneys and their clients and thereby promote broader public interests in the observance of law
and the administration of justice.” Upjohn Co. v. United States, 449 U.S. 383, 389 (1981).

        Wigmore on Evidence describes the several elements of the privilege this way: (1) When legal
advice of any kind is sought (2) from a professional legal adviser in his or her capacity as such, (3) the
communications relating to that purpose, (4) made in confidence (5) by the client, (6) are, at the client's
instance, permanently protected (7) from disclosure by the client or by the legal adviser (8) unless the
protection be waived. United States v. Martin, 278 F.3d 988, 999 (9th Cir. 2002) (citing 8 Wigmore,
Evidence § 2292, at 554 (McNaughton rev.1961)); see also United States v. Plache, 913 F.2d 1375, 1379
n.1 (9th Cir.1990).
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        “[T]he privilege exists to protect not only the giving of professional advice to those who can act
on it but also the giving of information to the lawyer to enable him to give sound and informed advice.”
Upjohn Co., 449 U.S. at 390. It encompasses communications made by a client’s employees to counsel,
acting as such, to enable counsel to be in a position to give legal advice to the client. Id. at 390-97.
Courts have also concluded that it encompasses communications made to counsel, acting as such, by
independent contractors and other third parties who are functional equivalents of employees. See
Trustees of the Electrical Workers Local No. 26 Pension Trust Fund v. Trust Fund Advisors, Inc., 266
F.R.D. 1, 7-9 (D.D.C. 2010); Memry Corp. v. Kentucky Oil Technology, N.V., 2007 WL 39373 *2
(N.D. Cal. 2007); Energy Capital Corp. v. United States, 45 Fed. Cl. 481, 491-92 (Fed. Cl. 2000); In re
Bieter Co., 16 F.3d 929, 935-40 (8th Cir. 1994).

       The fact that a person is a lawyer does not make all communications with that person privileged.
Martin, 278 F.3d at 999 (citation omitted). An entity cannot insulate documents from discovery simply
by sending a “cc” to counsel. United States Postal Service v. Phelps Dodge Refining Corp., 852
F. Supp. 156, 163-64 (E.D.N.Y. 1994) (attorney-client privilege would apply to documents copied to
attorney if documents contain communications intended to be confidential and dominant purpose of
communications was to obtain legal advice); see also Clavo v. Zarrabian, 2003 WL 24272641 *2 (C.D.
Cal. 2003) (insufficient evidence presented to demonstrate that documents exchanged between company
employees which were merely copied to counsel were privileged; mere transmittal of documents to
lawyer insufficient to bring documents under umbrella of attorney-client privilege), reconsideration
granted in non-pertinent part, 2004 WL 3708920 (C.D. Cal. 2004).

         Although the Ninth Circuit does not appear to have addressed the issue, other circuits and other
district courts in the Ninth Circuit have adopted the “dominant purpose” test in assessing whether a
communication is privileged, concluding that a communication is privileged if the “dominant” or
“primary” purpose of the communication is to obtain legal advice. See, e.g., County of Erie, 473 F.3d
413, 420 & n.7 (2d Cir. 2007) (applying “predominant purpose” test) (citing, inter alia, 24 Charles Alan
Wright & Kenneth W. Graham, Federal Practice and Procedure § 5490 (1986) (observing that while this
issue is “seldom discussed by the courts and writers,” the majority rule is the “dominant purpose
doctrine”)); Mora v. Baroni, 2008 WL 2509143 *7 (E.D. Cal. June 23, 2008); United States v.
ChevronTexaco Corp., 241 F. Supp. 2d 1065 (N.D. Cal. 2002).2


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         The court notes, however, that at least two federal district courts in the Ninth Circuit have
instead adopted a broader test which examines whether the assertedly privileged document was created
“because of” a legal purpose. See In re CV Therapeutics Inc., Securities Litigation, 2006 WL 1699536
*3-4 (N.D. Cal. June 16, 2006), as clarified on reconsideration, 2006 WL 2585038 (N.D. Cal. Aug. 30,
2006); Visa USA Inc. v. First Data Corp., 2004 WL 1878209 *4, 7 (N.D. Cal. Aug. 23, 2004). Such
courts have employed the “because of” test based upon the Ninth Circuit’s use of a similar test,
discussed below, in the context of assessing whether a document was prepared in anticipation of
litigation for purposes of the work product doctrine. See In re Grand Jury Subpoena (Mark Torf/Torf
Environmental Management), 357 F.3d 900, 908 (9th Cir. 2004) (The “because of” standard does not
consider whether litigation was a primary or secondary motive behind the creation of a document.
Rather, it considers the totality of the circumstances and affords protection when it can fairly be said that
the “document was created because of anticipated litigation, and would not have been created in
                                                                                                (continued...)
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        Correspondence which reveals the motive of the client in seeking representation, litigation
strategy, or the specific nature of services provided, such as researching particular areas of law, fall
within the privilege. Clarke v. American Commerce National Bank, 974 F.2d 127, 129 (9th Cir. 1992)
(citations omitted). Communications between a lawyer and a client which enable the lawyer to perform
a legal function are also privileged. United States v. Chen, 99 F.3d 1495, 1501 (9th Cir. 1996), cert.
denied, 520 U.S. 1167 (1997) Legal advice regarding the client’s business affairs are encompassed
within the attorney-client privilege. Id. Accordingly, the attorney-client privilege applies to
communications between lawyers and their clients when the lawyers act in a counseling and planning
role, as well as when lawyers represent their clients in litigation. Id.

        The privilege does not apply to communications with or involving third parties. United States v.
Palmer, 536 F.2d 1278, 1281 (9th Cir. 1976); United States Postal Service v. Phelps Dodge Refining
Corp., 852 F. Supp. 156, 161 (E.D.N.Y. 1994)); see also ChevronTexaco Corp., 241 F. Supp. 2d at 1070
(privilege generally does not extend to communications between the client or his attorney and a third
party).

        The burden to establish all the elements of the privilege is on the party asserting the privilege.
United States v. Munoz, 233 F.3d 1117, 1128 (9th Cir. 2000). “Because it impedes full and free
discovery of the truth, the attorney-client privilege is strictly construed.” Weil v. Investment/Indicators,
Research and Management, Inc., 647 F.2d 18, 24 (9th Cir. 1981). Nonetheless, “hard cases should be
resolved in favor of the privilege, not in favor of disclosure . . . ‘[A]n uncertain privilege, or one which
purports to be certain but results in widely varying applications by the courts, is little better than no
privilege at all.’ ”). United States v. Mett, 178 F.3d 1058, 1065 (9th Cir.1999) (quoting Upjohn Co., 449
U.S. at 393).

         B.      Attorney Work Product

         The work product doctrine/privilege, codified in Rule 26(b)(3) of the Federal Rule of Civil
Procedure, generally protects from discovery documents prepared (1) in anticipation of litigation or for
trial; and (2) by or for another party or by or for that other party’s representative (including the other
party’s attorney, consultant, surety, indemnitor, insurer or agent). See F.R. Civ. P. 26(b)(3); In re Grand
Jury Subpoena (Mark Torf/Torf Environmental Management) (“Torf”), 357 F.3d 900, 906 (9th Cir.
2004). A document should be deemed prepared “in anticipation of litigation,” and thus eligible for work
product protection under Rule 26(b)(3) if in light of the nature of the document and the factual situation
in the particular case, the document can be fairly said to have been prepared or obtained because of the
prospect of litigation. Torf, 357 F.3d at 907 (citation omitted). The “because of” standard does not


         2
         (...continued)
substantially similar form but for the prospect of that litigation.”) (citation omitted); see also In re CV
Therapeutics Inc., Securities Litigation, 2006 WL 1699536 *3-4 (N.D. Cal. June 16, 2006) (considering
totality of circumstances in assessing whether document was generated because of legal purpose,
including the context of the communication, the content of the communication, the facts surrounding the
creation of the document, the nature of the document, the breadth of the recipient list, and whether the
communication explicitly sought advice and comment), as clarified on reconsideration, 2006 WL
2585038 (N.D. Cal. Aug. 30, 2006).
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consider whether litigation was a primary or secondary motive behind the creation of a document. Id. at
908. Rather, it considers the totality of the circumstances and affords protection when it can fairly be
said that the document was created because of anticipated litigation, and would not have been created in
substantially similar form but for the prospect of that litigation. Id. (citation omitted). However, a
generalized fear of litigation is insufficient. See Lewis v. Wells Fargo & Co., 266 F.R.D. 433 (N.D. Cal.
2010) (generalized fear of litigation does not turn compliance audit into attorney work product). The
timing of the preparation of the documents in issue relative to litigation is a relevant factor to consider in
assessing whether the documents were prepared in anticipation of litigation. See Lewis, 266 F.R.D. at
440-41 (fact that audits in issue began at least a year before litigation filed suggest that documents would
have been created in substantially similar form even if no litigation anticipated).

        Rule 26(b)(3) distinguishes between work product, which consists of factual material prepared in
anticipation of litigation or trial (“fact work product”), and opinion work product, which consists of the
“mental impressions, conclusions, opinions, or legal theories of an attorney or other representative of a
party concerning the litigation.” F.R. Civ. P. 26(b)(3). Fact work product is discoverable only upon a
showing that the party seeking discovery has substantial need of the materials in the preparation of the
party’s case and that the party is unable without undue hardship to obtain the substantial equivalent of
the materials by other means. See F.R. Civ. P. 26(b)(3); Upjohn Co. v. United States, 449 U.S. 383,
400-02 (1981). Opinion work product is discoverable only “when mental impressions are at issue in a
case and the need for the material is compelling.” Holmgren v. State Farm Mutual Automobile
Insurance Co., 976 F.2d 573, 577 (9th Cir. 1992).

        The party claiming work product immunity has the burden of proving the applicability of the
doctrine. United States v. City of Torrance, 163 F.R.D. 590, 593 (C.D. Cal. 1995); see also United
States v. Roxworthy, 457 F.3d 590, 593 (6th Cir. 2006) (party asserting work product privilege bears
burden of establishing that documents party seeks to protect were prepared in anticipation of litigation).
To meet this burden, a party must demonstrate that its documents adhere to the essential elements of the
privilege by making a prima facie showing that the privilege protects the information the party intends to
withhold. In re Grand Jury Investigation, 974 F.2d 1068, 1070-71 (9th Cir. 1992) (citation omitted).
The Ninth Circuit has recognized a number of means of sufficiently establishing a privilege, one of
which is the privilege log approach. Id. at 1171 (citing Dole v. Milonas, 889 F.2d 885, 888 n.3, 890 (9th
Cir. 1989)).

         C.      Waiver

        Although as general matter, “[a] party is not entitled to discovery of information protected by the
attorney-client privilege[,]” Navajo Nation v. Confederated Tribes & Bands of the Yakima Indian
Nation, 331 F.3d 1041, 1046 (9th Cir. 2003) (citation omitted), the privilege is not absolute. Gomez v.
Vernon, 255 F.3d 1118, 1131 (9th Cir.), cert. denied, 534 U.S. 1066 (2001). It may be waived “either
implicitly, by placing privileged matters in controversy, or explicitly, by turning over privileged
documents.” Id.

        An express waiver occurs when a party discloses privileged information to a third party who is
not bound by the privilege, or otherwise shows disregard for the privilege by making the information
public. Bittaker v. Woodford, 331 F.3d 715, 719 (9th Cir.), cert. denied, 540 U.S. 1013 (2003);

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Tennenbaum v. Deloitte & Touche, 77 F.3d 337, 341 (9th Cir. 1996) (citing Weil, 647 F.2d at 25).3
 “Inadvertence” of disclosure does not as a matter of law prevent the occurrence of waiver. Weil, 647
F.2d at 24. Disclosures that effect an express waiver are typically within the full control of the party
holding the privilege; courts have no role in encouraging or forcing the disclosure-they merely recognize
the waiver after it has occurred. Bittaker, 331 F.3d at 719 & n.4 (“express” waiver need not be
effectuated by words or accompanied by litigant’s subjective intent; rather, privilege may be waived by
client’s, and in some cases the attorney’s, actions, even if the disclosure that gave rise to the waiver was
inadvertent) (citations omitted).

        Rule 502 of the Federal Rules of Evidence provides that a disclosure of a privileged document
does not operate as a waiver of the privilege if: (1) the disclosure is inadvertent; (2) the holder of the
privilege or protection took reasonable steps to prevent disclosure; and (3) the holder promptly took
reasonable steps to rectify the error, including (if applicable) following Federal Rule of Civil Procedure
26(b)(5)(B).4 Fed. R. Evid. 502(b). The Advisory Committee Notes reflect that Rule 502(b) “does not


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         As noted above, however, confidential communications between third parties such as
independent contractors, who are the functional equivalents of employees, and counsel, acting in such
capacity, may be privileged where the communication is intended to facilitate the attorney’s ability to
render legal advice to the client. See, e.g., Memry Corp. v. Kentucky Oil Technology, N.V., 2007 WL
39373 *2 (N.D. Cal. 2007) (characterizing disclosure to independent contractors and other third parties
who are functional equivalents of employees as “exception” to general rule that disclosure to third
parties waives the attorney-client privilege). Although the parties cite Hyundee v. United States, 355
F.2d 183 (9th Cir. 1965), for essentially the same proposition, such case is better understood as being
one of a line of cases regarding the “common interest/joint defense” privilege. See Hyundee, 355 F.2d
at 185 (client’s admissions to his own criminal attorney in presence of co-defendant and attorney for co-
defendant protected by attorney-client privilege; communications concerned common issues and were
intended to facilitate representation in possible subsequent proceedings). Participants in a joint or
common defense or individuals with a community of interests may communicate among themselves and
with the separate attorneys on matters of common legal interest, for the purpose of preparing a joint
strategy, and the attorney-client privilege will protect those communications to the same extent as it
would communications between each client and his own attorney. Nidec Corp. v. Victor Co. of Japan,
249 F.R.D. 575, 578 (N.D. Cal. 2007). The joint defense privilege protects not only the confidentiality
of communications passing from a party to his or her attorney but also from one party to the attorney for
another party where a joint defense effort or strategy has been decided upon and undertaken by the
parties and their respective counsel. United States v. Austin, 416 F.3d 1016, 1021 (9th Cir. 2005). The
privilege applies irrespective of whether or not litigation has begun or is contemplated. Continental Oil
v. United States, 330 F.2d 347, 350 (9th Cir. 1964).
         4
        Rule 26(b)(5) addresses claims of privilege and work product protection. As to information
withheld on such bases, it requires a party expressly to so claim, and to describe the nature of the items
not produced or disclosed in a manner that, without revealing information itself privileged or protected,
will enable other parties to assess the claim. Fed. R. Civ. P. 26(b)(5)(A). As to information produced
which is subject to such a claim, Rule 26(b)(5) indicates that the party making the claim may notify the
receiving party of such claim and the basis therefor, that the receiving party must promptly return or
                                                                                              (continued...)
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require the producing party to engage in a post-production review to determine whether any protected
communication or information has been produced by mistake. But the rule does require the producing
party to follow up on any obvious indications that a protected communication or information has been
produced inadvertently.”

         Rule 502 further recognizes that a federal court may order that the privilege is not waived by
disclosure connected with the litigation pending before it and that the parties’ agreement on the effect of
a disclosure in a federal proceeding is binding upon them. Fed. R. Evid. 502(d), 502(e). Rule 502
applies in all proceedings commenced after the date of its enactment [September 19, 2008] and, insofar
as is just and practicable, in all proceedings pending on such date of enactment. See Fed. R. Evid. 502
Effective and Applicability Provisions.5

         D.      The “Fiduciary Exception”

        The Ninth Circuit recognizes a “fiduciary exception” to the attorney-client privilege. Mett, 178
F.3d at 1062-63 (citations omitted). In the ERISA context, the fiduciary exception provides that one
acting in the capacity of ERISA fiduciary is disabled from asserting the attorney-client privilege against
plan beneficiaries on matters of “plan administration.” Id. at 1063 (citation omitted). The Ninth Circuit
has noted that the fiduciary exception is rooted in two distinct rationales: (1) an ERISA trustee has a
duty to disclose to plan beneficiaries all information regarding administration – a rationale which can be
understood as an instance of the attorney-client privilege giving way in the face of a competing legal
principle; and (2) an ERISA trustee, as a representative for the beneficiaries of the trust, is not the client
– a rationale which effectively means that the “fiduciary exception” is not an “exception,” and that the
trustee never enjoyed the privilege as to advice regarding plan administration in the first place. Id. at
1063 (citations omitted).

        The Ninth Circuit has recognized that under either rationale, the fiduciary exception has limits
and does not completely debilitate an ERISA trustee from enjoying a confidential attorney-client
relationship. Id. The Ninth Circuit has described the matter by reference to a spectrum:

         On the one hand, where an ERISA trustee seeks an attorney’s advice on a matter of
         plan administration and where the advice clearly does not implicate the trustee in any
         personal capacity, the trustee cannot invoke the attorney-client privilege against the
         plan beneficiaries. On the other hand, where a plan fiduciary retains counsel in order
         to defend himself against the plan beneficiaries (or the government acting in their
         stead), the attorney-client privilege remains intact.



         4
        (...continued)
otherwise dispose of such information, and that the receiving party may promptly present the
information to the court under seal for a determination of the claim. Fed. R. Civ. P. 26(b)(5)(B).
         5
        Although the instant action commenced prior to September 19, 2008, both parties have invoked
Rule 502, in addition to the Protective Order. (JS 6 [Plaintiffs]; JS 18-22 [Defendants]). Accordingly,
this court finds it just and practicable to apply such rule to the instant case.
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Id. at 1064. In assessing where a particular communication falls on the spectrum, the Ninth Circuit has
considered both “the context and content” of the communication. As to the former, the Ninth Circuit has
focused on the timing of the communication relative to other pertinent events and the degree to which it
may have been reasonable for a trustee to seek legal advice regarding personal exposure or civil/criminal
liability (e.g., whether “trouble was in the air” and the communication came in the midst of a crisis or
followed a criminal investigation; whether the communication was generated prior to or after litigation).
Id. at 1064. As to the latter, the Ninth Circuit has focused on whether the content reveals that the
communication was, on the one hand, for the benefit of the plan/beneficiaries/was rendered on a matter
of plan administration (e.g., the prospective propriety of a trust making financial advances to
beneficiaries, or taking a particular position vis-a-vis tax authorities) or, on the other hand, was
defensive in nature and constituted advice regarding a trustee’s personal civil and criminal exposure
regarding events that had already occurred). Id. at 1064.

        The Ninth Circuit has rejected an expansive view of the fiduciary exception which would cover
all legal communications which “relate to fiduciary matters” noting that: (1) such a broad interpretation
would (a) threaten to swallow the entirety of the attorney-client privilege for ERISA trustees; and
(b) unmoor the fiduciary exception from its justifying rationales; (2) where attorney-client privilege is
concerned, hard cases should be resolved in favor of the privilege, not disclosure; and (3) from a policy
perspective, an uncertain attorney-client privilege would likely result in ERISA trustees shying away
from legal advice regarding the performance of their duties. Id. at 1065.

        The Ninth Circuit has also discounted reliance on the terms of an engagement letter to assess
whether a particular communication is subject to the fiduciary exception as the nature of the
representation may have altered over time and as “it is not the terms of an engagement letter, but rather
the nature of the particular attorney-client communication that is dispositive.” Id. at 1065.

        In Fischel v. Equitable Life Insurance, 191 F.R.D. 606 (N.D. Cal. 2000), the court analyzed the
legal landscape regarding the “fiduciary exception” predating Mett and offered some practical guidance
with respect to the application of the fiduciary exception in light of Mett. It noted that prior to Mett, the
fiduciary exception had been deemed to apply “when an attorney advise[d] a fiduciary about a matter
dealing with fiduciary matters – such as plan administration,” and that the exception had been deemed
not to apply when “an attorney advise[d] a fiduciary on matters pertaining to non-fiduciary duties – such
as plan design, amendment, and termination[.]” Id. at 608 (citations omitted). The court pointed out
that this rule was difficult to apply due the lack of guidance in distinguishing between fiduciary and non-
fiduciary activities, the fact that the scope of “plan administration” – as to which the cases seemed to
agree was encompassed within fiduciary activities – was a matter of continuing redefinition, and that
prior to Mett, the cases failed satisfactorily to address the situation in which a trustee sought advice
regarding his/her own liability as to matters that pertain to fiduciary obligations, such as plan
administration. Id. It read Mett as endorsing a test that focuses on the intended recipient of the advice
and the purpose for which the advice was being sought. Id. at 609. More specifically, it concluded that
Mett limits the scope of advice that relates to “plan administration,” by excluding from it any advice
whose goal is to advise the trustee about the legal implications of actions and decisions undertaken while
performing its fiduciary obligations. Id.

       Applying the foregoing analysis to the disputed documents before it, the Fischel court further
concluded, after an in camera review of a sample of documents and based on their content and context:
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(1) documents that comprised legal advice from outside counsel or inside counsel regarding the legal
implications and potential liability for the employer trustee and its Board in amending and designing the
ERISA plan were protected by the work product doctrine and did not fall within the fiduciary exception
as it was apparent that litigation was anticipated and the advice related to the potential exposure of the
trustees in their personal capacity; (2) documents reviewed by inside counsel that were intended to
describe or communicate changes in plan benefits to beneficiaries fell within the fiduciary exception as
the documents focused on wordsmithing/editing the language disclosing plan changes for the benefit of
the beneficiaries as opposed to rendering legal advice to the trustees regarding the substance and
advisability of those changes; (3) internal documents in which inside counsel reviewed and commented
on drafts of response letters from management to agents’ inquiries, complaints and claims did not fall
within the fiduciary exception as the advice given was rendered in anticipation of litigation between the
company and its agents; and (4) internal documents in which inside counsel reviewed and commented
on the structure and design of the plan, including the plan’s compliance with its statutory obligations
under the Internal Revenue Code fell within the fiduciary exception as the documents did not reflect a
concern regarding the trustee’s personal liability, but instead focused on explaining and assisting with
fiduciary obligations with the intended purpose of benefitting the plan. Id. at 609-10.

         Although at least one out-of-district/circuit case, post-Mett, suggests that the entity/person
paying the legal bills is a factor to consider in assessing whether legal advice falls within the fiduciary
exception (Herndon v. U.S. Bancorp Asset Management, Inc., 2007 WL 781788 *3 (E.D. Mo. 2007)),
Mett, as noted above, emphasizes that it is “the nature of the particular attorney-client communication
that is dispositive.” Mett, 178 F.3d at 1062-63.

         E.      Propriety of In Camera Review of Documents

                 1.     In Camera Review to Assess Whether Documents are Privileged/Work
                        Product

        If a party asserting a privilege has made a threshold showing sufficient to demonstrate the
essential elements of the privilege in issue, an opposing party seeking to justify an in camera review
must show a factual basis sufficient to support a reasonable good faith belief that in camera inspection
may reveal evidence that information in the materials is not privileged. In re Grand Jury Investigation,
974 F.2d at 1075. If the party makes such a showing, the decision whether to conduct an in camera
review rests within the discretion of the court. Such discretion is to be guided by the factors enumerated
in United States v. Zolin, 491 U.S. 554 (1989) (courts should make decision to review in light of amount
of material they have been asked to review, the relevance of the alleged privilege material to the case,
and the likelihood that in camera review will reveal evidence to establish the applicability of exception
warranting production of material). Id. at 1075.

                 2.     In Camera Review to Assess Whether Privileged/Work Product Documents
                        Fall Within Fiduciary Exception

        In assessing whether a privileged/work product document falls within the fiduciary exception,
courts appears to favor in camera review of at least a sampling of documents. See, e.g., Mett, 178 F.3d
at 1064-65 (court considered context and content of communication in assessing whether it fell within
fiduciary exception, noting that nature of communication key to analysis); Fischel, 191 F.R.D. at 607 (as
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court unable to resolve potential applicability of fiduciary exception on basis of privilege log, court
conducted in camera review of sample of documents to assess how and whether exception applied).

III.     Discussion and Orders

        Based upon the Court’s consideration and analysis of the parties’ submissions and argument, the
facts in this case, and the above-referenced law, this Court rules as set forth below.

         A.      Plaintiff’s First Motion

        Plaintiffs’ First Motion, as narrowed by subsequent submissions, argues that (1) defendants have
waived any privilege/work product protection with respect to clawed back documents reflected on the
version of the Fifth Privilege Log which constitutes Wolff Errata Ex. 5 (a) by failing to take reasonable
steps, before production, to prevent disclosure of such documents; and/or (b) by intentionally
disclosing/sharing certain such documents with other third parties; and (2) even assuming such
privilege/protection has not been waived, at least three such documents (bearing bates numbers
NG7_00030962-NG7_00030974, NG 0801148, and NG 0810472-NG 0810478) fall within the fiduciary
exception and should be produced. (Plaintiffs’ Supp. I Memo at 2-5; Wolff Supp. Decl. ¶ 12; Wolff
Errata Ex. 5). For the reasons discussed below, the Court denies Plaintiffs’ First Motion except to the
extent it seeks an in camera review of documents assertedly subject to the fiduciary exception.

        1.      The Court finds no waiver or need for an in camera review of the attorney-client
privilege/work product protection relative to the clawed back documents in issue based upon defendants’
alleged failure to take reasonable steps, before production, to prevent disclosure. Though clearly
imperfect, the Court finds that the above-summarized procedures utilized by defendants in producing the
electronic documents in issue to plaintiffs, constitute reasonable steps to prevent the disclosure of
privileged/protected documents. Accordingly, whether analyzed under the terms of the Protective Order
or under Fed. R. Civ. P. 502(b), the Court finds no waiver by virtue of defendants’ alleged failure to
take reasonable steps, before production, to prevent disclosure.

        2.      The Court finds no waiver or need for an in camera review of the attorney-client
privilege/work product protection relative to the clawed back documents in issue based upon defendants’
intentional disclosure/sharing of such documents with other third parties. Defendants’ counsel attests
under penalty of perjury that each of the documents in issue involve communications involving an
attorney legal review or advice and that the persons involved in the communications were attorneys,
employees and agents of defendants and Northrop who were necessarily involved in the communication
as recipients and facilitators of the legal advice or work product. (Scheithauer I. Decl. ¶ 28) (referring to
documents listed on Scheithauer I Ex. O, which includes all documents on Wolff Errata Ex. 5).

        3.     The Court believes it appropriate to conduct an in camera review of a sampling of
documents as to which plaintiffs assert, and defendants dispute, fall within the fiduciary exception. As
the fiduciary exception is in issue in both of Plaintiffs’ Motions, the parties have the option of
designating the three remaining documents in issue in Plaintiffs’ First Motion as part of the sample to be
reviewed in camera in accordance with the protocol set forth below.


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         B.      Plaintiffs’ Second Motion

         Plaintiffs’ Second Motion, as narrowed by subsequent submissions, argues with respect to
documents listed on the versions of the First, Second, Third, and Fourth Privilege Logs which constitute
Wolff Errata Exs.1-4 that (1) defendants have failed to make a threshold showing sufficient to
demonstrate that such documents are privileged because such documents were transmitted to a non-
essential third party; (2) defendants have failed to make a threshold showing sufficient to demonstrate
that such documents are subject to protection under the work product doctrine; (3) defendants’
descriptions of the documents are too vague to establish a privilege; and (4) even if privileged, the
documents fall within the fiduciary exception. (Wolff Supp. Decl.; Wolff Errata Exs. 1-4). As
discussed below, Plaintiffs’ Second Motion is granted in part and denied in part. As also discussed
below, the Court believes it appropriate to conduct an in camera review of documents assertedly subject
to the fiduciary exception.

       1.       The Court first addresses plaintiffs’ contention that defendants have failed to make a
threshold showing sufficient to demonstrate that certain documents are privileged because such
documents were transmitted to a non-essential third party. Plaintiffs make such assertion relative to
four documents on Third Privilege Log (Document Nos. 9, 34, 35, 36) and seven documents on the
Fourth Privilege Log (Document Nos. 100, 296, 297, 340, 341, 342, 344). (Wolff Errata Exs. 3, 4).
The entries in issue on the Third and Fourth Privilege logs list multiple participants in the specified
communications. Aside from the individuals expressly designated as counsel and Dennis Wootan,
defendants have supplied the Court with no evidence from which to assess whether the remaining
individuals listed constitute non-essential third parties with respect to the communications in issue.6 As
defendants bear the burden of establishing such fact and have not done so, Plaintiffs’ Second Motion is
granted to the extent it seeks to compel the production of the eleven documents in issue. Defendants are
ordered to produce such documents within fourteen days.

        2.     The Court next addresses whether defendants have made a threshold showing sufficient
to demonstrate that documents in issue are subject to the attorney work product protection. The Court
notes from defendants’ updated versions of defendants’ First, Second, Third and Fourth Privilege Logs
regarding the documents in issue (Scheithauser Supp. I Exs. A-D) that defendants currently assert
attorney work product protection as to only three documents – Document No. 40 on the Third Privilege
Log and Documents Nos. 10 and 213 on the Third Privilege Log.7 Based upon a review of such entries,
the Court concludes that defendants have not made a threshold showing sufficient to demonstrate that
the three documents in issue were prepared in anticipation of litigation or for trial. Accordingly,
defendants’ attorney work product objections to the production of such documents are overruled.
However, despite such ruling, the Court does not order production of such documents, at least at this
juncture, because such documents are also the subject of attorney-client privilege objections.


         6
       There is evidence in the record that one of the listed individuals in issue, Jeff Krynski, was
employed by an outside consultant to at least one of the ERISA Plans in Issue. (Wolff II Decl. ¶ 19).
         7
         Although plaintiffs’ updated versions of such logs indicate that defendants assert work product
protection as to numerous additional documents, the Court presumes that defendants have withdrawn
such objections except as to the three above-referenced documents on defendants’ version of the logs.
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        3.     The Court next addresses plaintiffs’ contention that defendants’ descriptions of the
documents are too vague to establish a privilege. Plaintiffs appear to contend that the descriptions
provided for numerous items are insufficient to enable plaintiffs to assess whether the documents fall
within the fiduciary exception. The Court believes it appropriate to conduct an in camera review of a
sampling of such documents. The protocol for such sampling and review is described below.

       4.      The Court believes it appropriate to conduct an in camera review of a sampling of
documents as to which plaintiffs assert, and defendants dispute, fall within the fiduciary exception. The
protocol for such sampling and review is described below.

         C.      In Camera Review Protocol

       In the Joint Status Report, the parties indicate that they have agreed to an in camera
review/sampling protocol which this Court essentially adopts, with some modifications, as indicated
below.

      1.     The Court designates the following categories of documents/communications for in
camera review:

                 a)     Documents/Communications Regarding the Structure/Design/
                        Amendment/Termination of the ERISA Plans in Issue;

                 b)     Documents/Communications Regarding Ongoing Monitoring/Review of
                        Investment Options for the ERISA Plans in Issue;

                 c)     Documents/Communications Regarding the Selection/Retention/Use of Third
                        Party Vendors, Including Investment Managers for the ERISA Plans in Issue;

                 d)     Documents/Communications Regarding Budgets/Costs/Allocation of Expenses of
                        the ERISA Plans in Issue;

                 e)     Communications/Drafts of Communications to Participants of the ERISA Plans in
                        Issue;

                 f)     Documents/Communications Regarding Company/Trustee/Fiduciary Liability;

                 g)     Documents/Communications Regarding Inquiries/Complaints/Claims from
                        Specific Participant to the ERISA Plans in Issue;

                 h)     Documents/Communications As to Which the Logs are Assertedly Vague; and

                 i)     Documents/Communications Which Defendants Assert are Non-Responsive, Not
                        Relevant and/or Relate to Plans Other than the Plans in Issue.


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         The Court recognizes that some of the categories do not correspond to defendants’ asserted
reason(s) for not producing documents. To the extent that is the case, defendants may, concurrently with
the filing of the joint list discussed below, explain why document(s) that fall or are claimed to fall within
such a category, are being withheld or should not be produced in at least a redacted form. Moreover, to
the extent it is a party’s position that there are no withheld documents in issue which fall within a given
category, such party may either refrain from selecting documents in such category or may qualify their
submission by indicating that they are selecting documents which the opposing party views to fall within
such category to enable the Court to have a sufficient sample to assess such assertion.

        2.     Each party may choose no more than three (3) documents in each category for submission
to the Court for in camera review.

        3.     By no later than July 9, 2010, the parties are to file a joint list of all documents to be
submitted for in camera review. Such list should be organized by category and should reflect at least the
log from which the document is drawn and other identifying information (e.g., date, document number,
bates number). To the extent documents reflected on the joint list have already been produced in a
redacted form, such that the Court’s review should be focused on the redacted portions, this fact should
be reflected on the joint list.

        4.      By no later than July 12, 2010, defendants shall file a Notice of In Camera Lodging and
shall deliver an original and one copy of documents on the joint list to the Court’s chambers. To the
extent documents reflected on the joint list have already been produced in a redacted form, defendants
should supply the Court with both redacted and unredacted versions of such documents. Defendants are
also directed to file, by the same date, a declaration identifying the role of each of the participants in the
communications included on the joint list.

      5.      After the Court conducts its in camera review, the Court will issue a further order as to
whether defendants are required to produce additional documents to plaintiffs.

         IT IS SO ORDERED




                                                                       Initials of Deputy Clerk: kc




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